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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

 WANDA DIXON, INDIVIDUALLY AND                     CIVIL ACTION NO. MDL NO. 2592
 AS PERSONAL REPRESENTATIVE OF
 THE ESTATE OF WILLIAM DIXON
                                                   SECTION: L
Plaintiffs,                                        JUDGE: ELDON E. FALLON MAG.
                                                   JUDGE MICHAEL NORTH
v.

 JANSSEN RESEARCH & DEVELOPMENT
 LLC f/k/a JOHNSON AND JOHNSON
 PHARMACEUTICAL RESEARCH AND                       Member Case No. 2:17-cv-05113
 DEVELOPMENT LLC, JANSSEN ORTHO
 LLC, JANSSEN PHARMACEUTICALS,
 INC. f/k/a JANSSEN PHARMACEUTICA
 INC. f/k/a ORTHO-MCNEIL-JANSSEN
 PHARMACEUTICALS, INC., JOHNSON &
 JOHNSON COMPANY, BAYER
 HEALTHCARE PHARMACEUTICALS,
 INC., BAYER PHARMA AG, BAYER
 CORPORATION, BAYER HEALTHCARE
 LLC, BAYER HEALTHCARE AG, and
 BAYER AG,

 Defendants.



        MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION FOR EXTENSION
        OF TIME TO EFFECTUATE SERVICE OF SUMMONS AND COMPLAINT ON
                   BAYER HEALTCARE PHARMACEUTICALS, INC.

          AND NOW, come the Plaintiffs, Wanda Dixon, Individually and as Personal

 Representative of the Estate of William Dixon, by and through counsel, Breann Plasters of

 Andrus Wagstaff PC, and file the following Memorandum in Support of Motion for Extension of

 Time to Effectuate Service on Summons and Complaint on Bayer Healthcare Pharmaceuticals,

 Inc. pursuant to FRCP 4(m) and 6(b), and, in support thereof, aver as follows:




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                                          Background

       Plaintiffs filed a Complaint alleging injuries and death from the use of Xarelto in the

United States District Court for the Eastern District of Louisiana, No. 2:17-cv-05113, on May

22, 2017 against numerous Defendants including Bayer Healthcare Pharmaceuticals, Inc.

       Plaintiffs began litigating the cause of action through the registration of an account through

the BrownGreer MDL Centrality Portal for Xarelto Plaintiffs in this cause of action pursuant to

the controlling Pre-Trial Order. Plaintiffs further completed and submitted a Plaintiff Fact Sheet.

Plaintiffs submitted the Plaintiffs Fact Sheet on July 21, 2017, and received a deficiency

notice. The notice did not mention service. Plaintiffs did not receive notice that the service of the

Summons and Complaint was not proper pursuant to Pre-Trial Orders Nos. 10, 10A, and 10B

until February 27, 2018. Upon receipt of this notice, Plaintiffs immediately attempted service all

unserved defendants.

       In response to the deficiency notice received setting forth that Bayer Healthcare

Pharmaceuticals, Inc. not having been served, Plaintiffs file this motion to obtain authority to

serve Bayer Healthcare Pharmaceuticals, Inc. with a Notice of Lawsuit and Request to Waive

Service of Summons, Waiver of the Service of Summons and Complaint.

       Plaintiffs hereby request under Fed. R. Civ. 4(m), a 30-day extension of time in which to

effectuate service on Bayer Healthcare Pharmaceuticals, Inc. in accordance with this Court’s

Pretrial Order No. 10.

 The Court Should Exercise its Discretionary Authority to Extend the Time
          Period for Serving Bayer Healthcare Pharmaceuticals

       Under Fed. R. Civ. P. 4, if Plaintiffs show good cause for failure to serve within the

specified time period, the Court can extend the time for service for an appropriate period of time.


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      Although Rule 4(m) allows a Plaintiff ninety (90) days to serve a Defendant

after a Complaint is filed, Courts may alternatively issue an Order that service be

made within a specified time. Fed. R. Civ. P. 4(m). Further, the Court has discretion to

decide that a permissive extension is appropriate. See United States v. Ligas, 549 F. 3d

497, 501 (7th Cir. 2008), citing Henderson v. United States, 517 U.S. 654, 662-63 (1996).

If a Plaintiff establishes good cause for failing to serve a Defendant, the Court should allow

additional time for service, and even if good cause is lacking, the Court has

discretionary power to extend time for service. See Thompson v. Brown, 91 F. 3d

20, 21 (5th Cir. 1996). Such relief may be warranted by consideration of the

“arguments and factors advanced by the Plaintiff, and paying particular attention to the

critical factor such as the running of a state of limitations.” Cardenas v. City of Chicago,

646 F.3d 1001, 1007 (7th Cir. 2011) citing Panaras v. Liquid Carbonic Indus. Corp., 94 F.

3d 338, 341 (7th       Cir. 1996). A Court may also consider other relevant factors,

including “prejudice to the Defendant, actual notice of a lawsuit and eventual service.”

Troxell v. Fedders of N.A. Inc., 160 F.3d 381, 383 (7th Cir. 1998).

      As set forth in the accompanying Motion, Plaintiffs prepared and filed the

necessary Plaintiff Fact Sheet in accordance with PTO Nos. 13A and 14A. Counsel made an

administrative error and failed to serve Bayer Healthcare Pharmaceuticals, Inc. with

her Complaint and Summons. Plaintiffs have demonstrated their intention of pursuing their

claims as to Bayer Healthcare Pharmaceuticals, Inc. and would be severely prejudiced due

to the Statute of Limitations issue, should the requested relief not be granted. In fact,

Plaintiffs have continued to timely file all additional documents into the case via MDL

Centrality, and has provided all Plaintiffs Fact Sheets through the most current Fifth

Amended Plaintiffs Fact sheet, submitted March 20, 2018.
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     The Xarelto MDL involves at least thousands of Plaintiffs who have filed claims

virtually identical to the lawsuit filed by Plaintiff and Bayer Healthcare Pharmaceuticals,

Inc. is on actual notice of said lawsuits and will suffer no prejudice by this Court in

granting the within Motion. Plaintiff has not acted in bad faith in delaying service of the

Complaint and Summons. Defendant will not be prejudiced by the requested extension,

as Defendant has had notice of the actual lawsuit. Plaintiff requests that this Court

exercise its discretionary power to extend the time for service.

       For the foregoing reasons, Plaintiff respectfully requests that the Court grant the

within Motion to extend the time for serving Bayer Healthcare Pharmaceuticals, Inc.




                                               RESPECTFULLY SUBMITTED:

                                               April 23, 2018




                                     BY: /s/ Sarah A. Wolter
                                         Sarah A. Wolter
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                               CERTIFICATE OF SERVICE

       I, Sarah A. Wolter, Esquire, hereby certify on April 23, 2018, that a true and correct

copy of the above and foregoing Motion for Extension of Time to Effectuate Service of

Summons      and   Complaint     on    Bayer     Healthcare   Pharmaceuticals,    Inc.   has

contemporaneously with or before filing been served on all parties or their attorneys in a

manner authorized by F.R.C.P 5(b)2, Local Rule 5.1 of the Eastern District of Louisiana and

via MDL Centrality which will send notice of electronic filing and in accordance with the

procedures established in MDL 2592 pursuant to Pre-Trial Order No. 17.



                                            /s/ Sarah A. Wolter
                                            Sarah A. Wolter
                                            Counsel for Plaintiffs




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